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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  Angelica Parker,
                                                               24CV245 (JGLC) (RFT)
                       Plain�ﬀ,
         -against-                                                     ORDER


  Scot Bursor,
                       Defendant.


ROBYN F. TARNOFSKY, United States Magistrate Judge:

       The parties’ joint letter motion (ECF 272) is granted. Discovery deadlines in this matter
are stayed until a decision on the pending sanctions motion (ECF 243).
       The Clerk of Court is respectfully requested to terminate ECF 272.


DATED: January 30, 2025                                        SO ORDERED.
       New York, NY
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                                                               ROBYN F. TARNOFSKY
                                                               United States Magistrate Judge
